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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,



                      Plaintiff,                    Civil Action No. 1:21-cv-02886-FYP

               v.

BERTELSMANN SE & CO. KGaA,
PENGUIN RANDOM HOUSE, LLC,
VIACOMCBS, INC., and
SIMON & SCHUSTER, INC,

                      Defendants.




        UNITED STATES’ MOTION IN LIMINE TO PRECLUDE EVIDENCE OF
          PENGUIN RANDOM HOUSE’S ANNOUNCED BIDDING POLICY


       Plaintiff United States respectfully moves this Court for an order precluding Defendants

from presenting at trial evidence of statements by Penguin Random House (“PRH”) that it

intends in the future to allow its commonly-owned imprints (i.e., publishing brands) to behave as

if they are separate companies. The Clayton Act prohibits attaining market power by acquisition

regardless of the resulting dominant company’s self-serving promise about its own internal rules.

The substance of Defendants’ argument amounts to “don’t worry about allowing us to get market

power; we promise not to use it.” But competition—not ephemeral corporate promises—ensure

that markets deliver competitive prices, better quality and more choices for Americans.

Unilateral and ultimately unenforceable promises that do not alter the structure of the underlying


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acquisition—and therefore do not maintain the real-world incentives to ensure competition

prevails—are irrelevant and inadmissible to the question of whether the Court should permit this

proposed merger to proceed. The provision of testimony on this subject at trial is not only

irrelevant, it also will unnecessarily waste time and confuse the proceedings with collateral

witnesses and evidence, and unfairly prejudice the United States. It should therefore be

excluded.

                                         BACKGROUND

       In September 2021, PRH CEO Markus Dohle—in reaction to competitive concerns from

agents and authors regarding its acquisition of Simon & Schuster (the “Transaction”) and aware

of the potential for this action from the United States to enjoin the Transaction—announced that

if and when the Transaction is consummated, PRH imprints and legacy Simon & Schuster

imprints would be allowed to bid against one another for the acquisition of books (the

“Announced Bidding Policy”).1

       Defendants do not allege that the Announced Bidding Policy changes, amends, or results

in an acquisition different from the Transaction that is the subject of this case, or structurally

alters the post-merger competitive incentives of the combined company. Nor does the

Announced Bidding Policy create any legally binding or continuing commitment. To the

contrary, the Announced Bidding Policy is an unenforceable, unilateral commitment that

Defendants assert they will adhere to should the Court permit the Transaction to close, but which

in reality can be retracted, modified, or evaded at any time for any reason.




       1
         Penguin Random House’s Open Letter to Our Book Publishing Industry Partners,
https://www.penguinrandomhouse.com/penguin-random-houses-open-letter-to-our-book-
publishing-industry-partners/.
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                                          ARGUMENT

  I.   Evidence of PRH’s Announced Bidding Policy is irrelevant, and therefore,
       inadmissible.

       The Announced Bidding Policy is a unilateral commitment that PRH can simply ignore,

alter, or rescind without recourse—and is likely to do so. Merger law focuses on market

structure, not purely speculative “promises” a defendant makes about their post-merger behavior.

As such, the Court should use its discretion to exclude this irrelevant evidence. See Fed. R. Evid.

401, 402.

       In essence, PRH’s Announced Bidding Policy comes down to the proposition that,

although Defendants will attain additional market power and be the industry’s dominant player

by eliminating their strong pre-merger rivalry, they promise after the merger to forgo profits and

benevolently pretend for some of its imprints to compete against some of its other imprints,

ostensibly driving up their own costs.2 But this is nonsensical, akin to spouses bidding against

each other and driving up the price for a house that they will share. PRH is a profit-maximizing

firm, and the law categorically rejects arguments that individual units of a corporation are

“separate economic actors, pursuing separate economic interests.” Copperweld Corp. v. Indep.

Tube Corp., 467 U.S. 752, 769 (1984). Rather, a corporation and its division or wholly owned

subsidiary “have a complete unity of interest. Their objectives are common, not disparate; their

general corporate actions are guided or determined not by two separate corporate

consciousnesses, but one.” Id. at 771; see also United States v. AT&T, Inc., 916 F.3d 1029, 1043

(D.C. Cir. 2019) (“Companies with multiple divisions must be viewed as a single actor, and each




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         The fact that Defendants are willing to make such a promise “strongly supports the
fears” of anticompetitive effects. FTC v. Cardinal Health, Inc., 12 F. Supp. 2d 34, 67 (D.D.C.
1998).
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division will act to pursue the common interests of the whole corporation.”); Areeda &

Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their Application (2022), ¶

964b (“Antitrust generally presumes that a firm maximizes its profits in the environment in

which it finds itself . . . .”). When a corporation states an intention to maintain an acquired entity

as separate and permit them to continue to function in the future as they had been doing, “[t]here

can be little, if any, reliance upon the statement in the face of well-known tendencies of human

conduct.” United States v. Pennzoil Co., 252 F. Supp. 962, 984 (W.D. Pa. 1965). PRH’s own

marketplace behavior corroborates the fact that this “promise” is directly contrary to its

economic self-interest, as their typical practice is that PRH imprints may not exceed one

another’s bids when they are the only remaining bidders to acquire a book.

       Stated intentions of post-merger behavior are irrelevant in cases such as this. The

Clayton Act prohibits attaining market power by acquisition without requiring a showing that the

dominant merged firm intends to exercise that market power. United States v. Philadelphia Nat’l

Bank, 374 U.S. 321, 362–63 (1963); Hosp. Corp. of Am. v. F.T.C., 807 F.2d 1381, 1389 (7th Cir.

1986) (proof that a merger has caused higher prices is not required); see also F.T.C. v. H.J. Heinz

Co., 246 F.3d 708, 719 (D.C. Cir. 2001). This holds true even when a defendant has supposedly

benevolent intentions to voluntarily refrain from exercising its acquired market power. See

United States v. H & R Block, Inc., 833 F. Supp. 2d 36, 82 (D.D.C. 2011) (“While the Court has

no reason to doubt that defendants would honor their promise [to maintain the acquired firm’s

current prices for three years post-merger], this type of guarantee cannot rebut a likelihood of

anticompetitive effects in this case.” (citing FTC v. Cardinal Health, Inc., 12 F. Supp. 2d 34, 64

(D.D.C. 1998)). Further, an action that a defendant takes during the pendency of an investigation

into their acquisition should be viewed with skepticism, especially when it may have been made


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to improve their litigating position. See Hosp. Corp. of Am., 807 F.2d at 1384 (“Post-acquisition

evidence that is subject to manipulation by the party seeking to use it is entitled to little or no

weight.”).

       If Defendants were correct that the law allows an ephemeral promise to replace real,

structural competition, then firms in any industry could just merge to monopoly and then go scot-

free with a promise to act like competitors. Such an absurd result is not the law; the Clayton Act

instead focuses on market structure. Because the Announced Bidding Policy does not change the

structure of the Transaction or the structure of the market if the Transaction were to proceed, it

does not impact the competitive incentives of the combined firm and is appropriately excluded as

irrelevant to the legal question before the Court.3

       The merged company would not only have the strong incentive to change, rescind, or

ignore the Announced Bidding Policy, but it would have the ability to do so easily and without

oversight, rendering this stated intention speculative and irrelevant. The Announced Bidding

Policy has no set duration and could be revised or thrown out entirely by the company for any

reason on any day if and when the merger closes—including by the next CEO. PRH could also

easily circumvent the Announced Bidding Policy as-is by consolidating or reorganizing its

imprints. If, for example, a legacy Simon & Schuster imprint is consolidated with its current

PRH rival imprint—or simply rearranged to be under the same division—any effect that the


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          Defendants’ “promise” is effectively a self-help remedy for the market power that they
claim not to be acquiring, but even as such it is not of the type that courts consider, as it does not
change or affect the acquisition at issue. See, e.g., Mem. Op. at 5, 7, FTC v. Arch Coal, Inc., No.
1:04-cv-534 (D.D.C. July 7, 2004) (permitting evidence of a proposed sale of assets because “the
transaction that is the subject of the FTC’s challenge is properly viewed as the set of two
transactions involving the [original agreement and additional divestiture agreement].”); FTC v.
Libbey, 211 F. Supp. 2d 34 at 46 (D.D.C. 2002) (finding that an amended acquisition agreement
that “supercede[d] and nullifie[d]” the original merger agreement “becomes the new agreement
that the Court must evaluate in deciding whether an injunction should be issued.”).
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Announced Bidding Policy may have had to preserve pre-merger competition between those

imprints would be nullified. PRH may also simply ignore the Announced Bidding Policy and

permit or direct its imprints to pull punches or coordinate on their respective bids. Such internal

coordination would go undetected by the agents and authors who would suffer the resulting

harm. But even if authors and agents could spot deviations from the Announced Bidding Policy,

they—and this or any Court—would be powerless to enforce it. The merged company has free

rein to restrict competition between its imprints without liability, because even though such

coordination would be illegal between separate companies, the antitrust laws are not violated by

internally coordinated conduct by a corporation and its subparts. Copperweld, 467 U.S. at 770.

Because PRH is likely and so easily able to take any of these actions to undermine its

Announced Bidding Policy the moment this case concludes, the Announced Bidding Policy is a

purely speculative statement of intent, and is irrelevant to the Court’s analysis in this case.

 II.   Any marginal relevance of the Announced Bidding Policy is outweighed by a danger
       of unfair prejudice, confusing the issues, and wasting time.

       Even if the Announced Bidding Policy has some marginal relevance to the Court’s

analysis of whether to allow the Transaction—which it does not—it should still be excluded

because any marginal probative value is substantially outweighed by a danger of unfair

prejudice, confusing the issues, and wasting time. Fed. R. Evid. 403; see also Paleteria La

Michoacana, Inc. v. Productos Lacteos Tocumbo S.A. De C.V., No. 11-1623 (RC), 2015 WL

13680817, at *3 (D.D.C. June 12, 2015) (excluding evidence from a bench trial because “any

relevance would be limited and outweighed by the dangers of undue delay and wasting time”).

Time discussing the Announced Bidding Policy at trial would be better spent focused on the

actual Transaction at issue. Indeed, the topic has already taken up valuable resources during

discovery, as more than 15 fact and expert witnesses have already testified about their opinions

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on the Announced Bidding Policy. It would be prejudicial to the United States’ case to allow

Defendants to use this testimony to obscure witnesses’ real competitive concerns, especially

when the Announced Bidding Policy’s lack of economic sense suggests it is simply a made-for-

litigation performative gesture offered as a temporary distraction from the anticompetitive effects

of the proposed merger.

                                        CONCLUSION

       Defendants likely will seek to present evidence of statements of their future intentions,

made unilaterally and outside of this Court’s purview to quell concerns about anticompetitive

harm from the Transaction. But the Announced Bidding Policy has no relevance to the matters

to be considered by the Court, and trial time should not be wasted on such distractions. Thus, the

United States respectfully seeks an order precluding admission of evidence regarding PRH’s

Announced Bidding Policy.

       Pursuant to the Court’s Standing Order and Local Rule 7(m), the parties have met and

conferred, and Defendants have stated that they will oppose this Motion. A proposed order is

attached.


                                             Respectfully submitted,

Dated: July 8, 2022                          /s/ John R. Read
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                                CERTIFICATE OF SERVICE

        I certify that on July 8, 2022, I served the foregoing and all accompanying documents on
the below individuals by electronic mail:
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